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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                        )
In re:                                  )
                                        )                                   Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,      )
                                        )                                   Case No. 19-34054 (SGJ)
                  Debtor.               )
                                        )
                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.       )
                                        )
                  Plaintiff,            )
vs.                                     )                                   Adv. Pro. No. 21-03007 (SGJ)
                                        )
HCRE PARTNERS, LLC (n/k/a NEXPOINT REAL )
ESTATE PARTNERS, LLC,)                  )
                                        )
                  Defendant.            )
                                        )

                                      CERTIFICATE OF SERVICE

      I, Hannah Bussey, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 17, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

     •   Debtor's Unopposed Motion for Leave to Serve and File Amended Complaint
         [Docket No. 55]


Dated: August 20, 2021
                                                          /s/ Hannah Bussey
                                                          Hannah Bussey
                                                          KCC
                                                          Meidinger Tower
                                                          462 South 4th Street
                                                          Louisville, KY 40202

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                             EXHIBIT A
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                                                                Exhibit A
                                                          Adversary Service List
                                                         Served via Electronic Mail


            Description                 CreditorName                CreditorNoticeName                           Email
 Financial Advisor to Official                                 Earnestiena Cheng, Daniel H       Earnestiena.Cheng@fticonsulting.com;
 Committee of Unsecured Creditors FTI Consulting               O'Brien                           Daniel.H.O'Brien@fticonsulting.com
                                                               Melissa S. Hayward, Zachery       MHayward@HaywardFirm.com;
 Counsel for the Debtor              Hayward & Associates PLLC Z. Annable                        ZAnnable@HaywardFirm.com
 Counsel for UBS Securities LLC                                Andrew Clubok, Sarah              andrew.clubok@lw.com;
 and UBS AG London Branch            Latham & Watkins LLP      Tomkowiak                         sarah.tomkowiak@lw.com
 Counsel for UBS Securities LLC                                Asif Attarwala, Kathryn K.        asif.attarwala@lw.com;
 and UBS AG London Branch            Latham & Watkins LLP      George                            Kathryn.George@lw.com
 Counsel for UBS Securities LLC                                Jeffrey E. Bjork, Kimberly A.     jeff.bjork@lw.com;
 and UBS AG London Branch            Latham & Watkins LLP      Posin                             kim.posin@lw.com
 Counsel for UBS Securities LLC                                                                  Zachary.Proulx@lw.com;
 and UBS AG London Branch            Latham & Watkins LLP          Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
                                                                                                 mclemente@sidley.com;
                                                                   Matthew Clemente, Alyssa      alyssa.russell@sidley.com;
 Counsel for Official Committee of                                 Russell, Elliot A. Bromagen,  ebromagen@sidley.com;
 Unsecured Creditors                 Sidley Austin LLP             Dennis M. Twomey              dtwomey@sidley.com
                                                                                                 preid@sidley.com;
                                                                   Penny P. Reid, Paige Holden pmontgomery@sidley.com;
 Counsel for Official Committee of                                 Montgomery, Juliana Hoffman, jhoffman@sidley.com;
 Unsecured Creditors                 Sidley Austin LLP             Chandler M. Rognes            crognes@sidley.com
 Counsel for HCRE Partners, LLC
 (n/k/a NexPoint Real Estate                                       Deborah Deitsch-Perez,       deborah.deitschperez@stinson.com;
 Partners, LLC)                      Stinson LLP                   Michael P. Aigen             michael.aigen@stinson.com




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                             EXHIBIT B
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                                                                       Exhibit B
                                                                 Adversary Service List
                                                               Served via First Class Mail

                 Description               CreditorName          CreditorNoticeName                     Address1                City     State    Zip
      Counsel for UBS Securities LLC                          Andrew Clubok, Sarah            555 Eleventh Street, NW,
      and UBS AG London Branch         Latham & Watkins LLP   Tomkowiak                       Suite 1000                    Washington   DC      20004
      Counsel for UBS Securities LLC                          Asif Attarwala, Kathryn K.      330 North Wabash Avenue,
      and UBS AG London Branch         Latham & Watkins LLP   George                          Ste. 2800                     Chicago      IL      60611
      Counsel for UBS Securities LLC                          Jeffrey E. Bjork, Kimberly A.
      and UBS AG London Branch         Latham & Watkins LLP   Posin                           355 S. Grand Ave., Ste. 100   Los Angeles CA       90071
      Counsel for UBS Securities LLC                          Zachary F. Proulx, Jamie
      and UBS AG London Branch         Latham & Watkins LLP   Wine                            1271 Avenue of the Americas New York       NY      10020
      Counsel for HCRE Partners, LLC
      (n/k/a NexPoint Real Estate                             Deborah Deitsch-Perez,          3102 Oak Lawn Avenue,
      Partners, LLC)                   Stinson LLP            Michael P. Aigen                Suite 777                     Dallas       TX      75219




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